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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY
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ALLISON MARIE KYLE, as guardian ad litem
for her daughter E.K.L. who is suing as Plaintiff                      Case No. 2:15-cv-05193-ES-JAD
on behalf of herself and all others similarly situated,

                 -against-

SELECTIVE SERVICE SYSTEM,
DIRECTOR OF SELECTIVE SERVICE,
     LAWRENCE G. ROMO, in his official capacity,

                                             Defendants.
----------------------------------------------------------------------x

 REQUEST BY LOCAL COUNSEL FOR PRO HAC VICE ATTORNEY TO RECEIVE
                   ELECTRONIC NOTIFICATION

        Request is hereby made by local counsel for pro hac vice counsel to receive electronic

notification in the within matter, and it is represented that:

        1. An order of the Court granting a motion to appear pro hac vice in the within matter

was entered on August 18, 2015, in the above captioned case, docket number 12; and

        2. Since admission was granted after March 22, 2005, the Admission Fee, in the amount

of $150, pursuant to L.Civ.R. 101.1(c)(3), has been paid to the Clerk of the Court.

Dated: West Harrison, N.Y                                                 s/ Michael J. Daher
       August 21, 2015
                                                                          Michael J. Daher, Esq.
                                                                          Attorney of Record for Plaintiff
                                                                          Identification No. 054172013
                                                                          125 Old Lake St.
                                                                          West Harrison, N.Y. 10604
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                                                                          Michael@MDaherLaw.com
PRO HAC VICE ATTORNEY INFORMATION:
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